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                                                 July 7, 2020
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     Honorable Vernon S. Broderick
     United District Judge
     United States District Court
     Southern District of New York
     Thurgood Marshall United States Courthouse
     40 Foley Square, Room 415
     New York, NY 10007

     Re: Safani Gallery, Inc. v. The Italian Republic, Civil Action No. 1:19-10507-VSB

     Dear Judge Broderick:

            I represent the Plaintiff, Safani Gallery, Inc. in the above-referenced case. I am writing to
     Your Honor today pursuant to Rules l.A. and l.G. and consistent with Rule 4.G. of Your
     Honor's Individual Rules and Practices in Civil Cases and consistent with the Court's Local
     Rules.

            On June 22, 2020, the Defendant in this case filed a motion to dismiss the Complaint
     pursuant to Rule 12(b)(l) of the Federal Rules of Civil Procedure. [ECF #13]. On June 25, 2020,
     the Court entered an Order providing, inter alia, that if Plaintiff intends to file an Amended
     Complaint, it must be filed by July 13, 2020. [ECF #16]. Plaintiff does, indeed, intend to file an
     Amended Complaint. I am writing today, however, to respectfully request a seven (7) day
     extension of time, from July 13, 2020 to July 20, 2020, to file the Amended Complaint.

             This is the Plaintiff's first request for an extension of time in this case. I have consulted
     with opposing counsel and represent to the Court that this request is unopposed. I make the
     request because of obligations that have arisen in two cases involving emergency litigation in the
     U.S. Court of Appeals for the D.C. Circuit and in the U.S. District Court for the District of
     Columbia. In the former case, I filed an emergency motion yesterday and today the Court issued
     an Order requiring all briefing to be completed by both parties this week. In the latter case, I
     have to file a motion for preliminary injunctive relief this week which must be litigated on a
     truncated schedule because of an upcoming date in the election schedule. I am a solo practitioner
     with no office staff and these two matters have arisen in the middle of obligations in other cases
     as well.

            I respectfully submit that the reason for the extension constitutes good cause and the
    _extension is unopposed and will not prejudice any party or cause any significant delay. It will not
Honorable Vernon S, Broderick
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affect any date other than moving by one week the date by which a response to the Amended
Complaint will be due to be filed.

       Accordingly, based on the foregoing, the undersigned respectfully requests a seven (7)
day extension of time, from July 13, 2020 until July 20, 2020 for the Plaintiff to file its Amended
Complaint in the above-referenced case.




cc: All counsel of record (via ECF)
